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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

x
JOSE MANUAL HENRIQUEZ and JOSE HECTOR
FUENTES, on behalf of themselves and similarly
situated employees,
CASE No.
Plaintiffs, 12-CV-6233 (ADS)(GRB)
-against-
DEFENDANT(S)
KELCO LANDSCAPING, INC., KELCO LANDSCAPING RESPONSE TO
CORP., ELM GENERAL CONSTRUCTION CORP., PLAINTIFF’S
KELLY’S CREW, JOHN KELLY and JOSEPH FIRST SET OF
PROVENZANO, INTERROATORIES
Defendants.
x

 

Defendant(s), KELCO LANDSCAPING, INC., ELM GENERAL CONSTRUCTION
CORP., JOHN KELLY and JOSEPH PROVENZANO (the “Defendants”), by and
through their attorneys, HANKIN & MAZEL, P.L.L.C., as and for their Response to
Plaintiff's First Set of Interrogatories, states as follows:

GENERAL OBJECTIONS

Defendant(s) submit the following general objections which apply to each and
every one of plaintiff's interrogatories request(s):

(A) Defendant(s) reserve the right to challenge the competency, relevance
and admissibility, at trial or any subsequent proceeding, in this or any
other action, of any statement made or information provided in response
to plaintiff's interrogatories demand.

(B) Defendant(s) object to plaintiff's interrogatory requests insofar as they
seek to impose upon defendant(s) obligations greater than those required
by the Federal Rules of Civil Procedure (“FRCP”).

(C) Defendant(s) object to plaintiff's interrogatory requests insofar as they are
directed to or made on behalf of entities or persons who are not parties to
this litigation.

(D) Defendant(s) object to plaintiff's interrogatory requests insofar as they
attempt to elicit protected documents or information subject to attorney-
client privilege; the work product doctrine; the confidentiality of documents
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containing the impressions, conclusions, opinions, legal research or
theories of the defendant(s) or their attorneys; or, seek materials prepared
in anticipation of litigation.

Defendant(s) object to plaintiff's interrogatory requests insofar as they
seek documents or information not within the possession, custody or
control of the defendant(s).

Defendant(s) object to plaintiff's interrogatory requests insofar as they
seek documents or information, which is within plaintiff's exclusive
custody, control and possession, or, to which plaintiff has equal access.

Defendant(s) object to plaintiff's interrogatory requests insofar as they are
vague, ambiguous, overbroad, unduly burdensome, oppressive or
vexatious and seek documents and/or information outside the scope of
permissible discovery pursuant to the FRCP.

Defendant(s) object to plaintiff's interogatory requests insofar as they are
unlimited in time or otherwise not limited to a time frame relevant to this
litigation on the grounds that each such requests are overbroad and
unduly burdensome and seeks information and/or documents neither
relevant to the subject matter of the litigation, nor reasonably calculated to
lead to the discovery of admissible evidence.

Defendant(s) object to plaintiff's interrogatory requests insofar as they
seek the disclosure of confidential and/or proprietary information,
documents or responses.

Defendants object to all interrogatories relating to the defendant Kelco

Landscaping, Inc who did not employ the plaintiffs or anyone similarly
situated.

GENERAL STATEMENT

Defendant(s) have based their objections and responses to plaintiff's
interrogatory requests on information currently available to defendant and reserves the
right to amend these objections and responses to include information and documents
which may be obtained through ongoing discovery and investigation in accordance with
the FRCP. Defendant(s) reserve the right to supplement, amend or correct their
responses in the event of the development or availability of additional, responsive, non-
privileged information to the extent such supplementation, correction or amendment is
warranted pursuant to the FRCP. The foregoing general objections, are incorporated
by reference within each of the following responses and objections.
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DEFINITIONS

1. As used herein, objections containing the phrase “seeks the discovery of irrelevant
information and documents” or words to that effect means that the document request
seeks information or documents (1) have no tendency to make the existence of any fact
or consequence to the determination of the instant case more or less probable than it
would be without such information or documents; and, (2) which do not appear to be
reasonably calculated to lead to the discovery of admissible evidence.

2. As used herein, “unduly burdensome” means that the information or document
request requires a search for information or documents which are of little or no benefit
to this action in that the value of their production is far outweighed by the burden of
producing them, especially where the defendant can obtain the information or
documents from other sources.

3. As used herein “overbroad” means that the information and/or document request
requires production, at least in part, of information and/or documents, which are
irrelevant to the instant litigation in subject matter or time period or both.

4. As used herein “vague” means that these answering Defendant are unable to
ascertain with certainty what information or document is being requested.

RESPONSES AND INTERROGATORIES

1. With respect to each opt-in Plaintiff, accurately and fully describe the
duties of each position the Plaintiff held during the course of his employment with
Defendant, state Plaintiffs date of employment, and state Plaintiffs hourly rate or salary.
Response to Interrogatory No. 1:

Henriquez: Landscape maintenance laborer; 03-27-2009; $15.00 per hour.

Fuentes: Landscape maintenance laborer; 10-06-2008; $12.00 per hour.

Reyes: Landscape maintenance laborer; 03-07-2002; $15.00 per hour.

Rivera: Landscape maintenance laborer; 03-17-2011; $20.00 per hour.

2. Identify each and every person who managed or supervised Plaintiff's
work or assigned him tasks or duties. For each person identified, provide his/her dates
of employment, last known address and telephone number.

Response to Interrogatory No. 2:

Joseph Provenzano; 03-09-2002 to present; 10 Inwood Place, Melville, New
York; 631-757-0335.
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Julio Perdomo; 03-09-02 to present; 302 Whipple Street, Brentwood, New York;
631-435-0528.

3 Identify each and every person responsible for determining whether
Plaintiff's classification (exempt or non-exempt) with respect to overtime requirements.
For each person identified, provide his/her dates of employment, last known address
and telephone number.

Response to Interrogatory No. 3:

Joseph Provenzano;03-09-2002 to present; 10 Inwood Place, Melville, New
York; 631-757-0335.

4. Identify all documents, including but not limited to work schedules, sign-in
sheets and/or time cards, which refer or relate to the hours worked by Plaintiff each
week during the period of his employment with Defendant.

Response to Interrogatory No. 4:

Time cards

Time Card Journals

Payroll Check Registers

5. Identify each and every person responsible for determining Plaintiff's
compensation, including his regular rate of pay and overtime rate of pay. For each
person identified, provide his/her dates of employment, last known address and
telephone number.

Response to Interrogatory No. 5:

Joseph Provenzano; 03-09-2002 to present; 10 Inwood Place, Melville, New
York; 631-757-0335.

6. Identify all persons employed at Kelco Landscaping Inc., Kelco
Landscaping Corp., Elm General Construction Corp., and Kelly’s Crew, from December
2006 to present, including their position, dates of employment, last known address and
telephone number.

Response to Interrogatory No. 6:

Defendant objects to this interrogatory as it relates to defendants other than ELM
General Construction Corp who employed the Plaintiffs herein as it requests
information which is irrelevant, outside the scope of the claims, overbroad and violates
rights to privacy. Notwithstanding, See Exhibit #4 List of employees of ELM General
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Construction Corp.set forth in defendant(s) response to plaintiffs demand for
documents.

7. Identify each and every written policy, administrative regulations, order,
ruling, approval, and/or interpretation of the Administrator of the Wage and Hour
Division of the U.S. Department of Labor, and/or administrative enforcement policy
thereof, upon which Defendant relied in determining the Plaintiffs were exempt
employees.

Response to Interrogatory No. 7:

Defendant objects to this interrogatory as it requests legal conclusions and/or
questions of law.

8. If you contend that Plaintiffs are not ‘similarly situated’ to other current
and/or former employees for purposes of 29 U.S.C. 216 (b), state all facts that support
such contention.

Response to Interrogatory No. 8:

Defendants object to this interrogatory only to the extent that it relates to the
defendant Kelco Landscaping, Inc. who did not employ the plaintiffs or anyone similarly
situated and otherwise. Notwithstanding, ELM General Construction Corp. does not
contend plaintiffs are not similarly situated.

9, For each of Defendant's locations, identify each person responsible for

payroll at any time from December 2006 through December 2012, including their
position, dates of employment, last known address and telephone number.

Response to Interrogatory No. 9:

Terri Provenzano, 3-09-02, 19 Creekside Drive Middle Island, New York 11953.

10. Identify the Prime Contractor's officers, directors and shareholders.
Response to Interrogatory No. 10:

Defendant objects to this interrogatory as it relates to the term “prime contractor”.
Notwithstanding, Joseph Provenzano is the sole officer, director and shareholder of

ELM General Construction Corp.

11. Identify each of the Prime Contractor’s employees, agents and other
representatives with knowledge of the matters set forth in the Complaint herein.
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Response to Interrogatory No. 11:
Joseph Provenzano
Terri Provenzano
Julio Perdomo

12. For each public works contract entered into by Defendant during the six
years preceding the commencement of this action, identify:

(a) the public agency or authority with whom Defendant contracted to perform
the project; -

(b) the amount of the contract, including change orders, pursuant to which the
was performed;

(c) the name of the subcontractor Defendant entered into a subcontract or
other agreement with;

(d) the amount of any subcontract(s), including change order;

(e) the date upon which the subcontractor(s) commenced work thereon;
(f) the date upon which the subcontractor(s) finished work thereon;

(g) the date upon which the Prime Contractor commenced work thereon:
(h) the date upon which the Prime Contractor finished work thereon:

(i) the location and address of the site(s) upon which any work was
performed

(j) the identities of the individual employed by the subcontractor(s) thereon;

(k) the classifications of workers employed by the subcontractor(s) thereon;

(I) all of Defendant’s employees, agents or other representatives who worked
as supervisors, superintendents, foremen, crew chiefs or other overseers

in connection with the Public Work:

(m) the names and titles of all government inspectors who were present at
any time on the site(s) of each Public Work .

(n) the names and titles of all Defendant's employees, agents or other
representatives who supervised and/or monitored the subcontractor’s work thereon;
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(0) all sureties who issued payment and/or performance bonds thereon;
(p) | the name of the construction manager of record;

(q) _ the identity of all joint venturers, subcontractors, affiliates, and/or related
entities of Defendant.

Response to Interrogatory No. 12:

Defendants object to this interrogatory only to the extent that it relates to the
defendant Kelco Landscaping, Inc. who did not employ the plaintiffs or anyone similarly
situated. Notwithstanding, as to ELM General Construction Corp which employed the
defendants herein, no public works contracts have been entered into by said defendant.

13. Identify all documents that refer or relate to the information requested in
Interrogatory No. 12 above.

Response to Interrogatory No. 13:
Not applicable

14. To the extent that the public work was performed with the Prime
Contractor's own employees identify:

(a) _ the identities of all the workers who performed work thereon;
(b) the dates by location when the work was performed;

(c) the classifications of workers employed by the Prime Contractor thereon
to perform the work;

(d) all of Defendant’s employees, agents or other representatives who worked
as supervisors, superintendents, foremen, crew chiefs or other overseers in connection
with the public work.

Response to Interrogatory No. 14:

Defendant objects to this interrogatory as it relates to the term “prime contractor’.
Notwithstanding, see response to interrogatory #12 above.

15. Identify all documents that refer to or relate to the information requested in
Interrogatory No. 14 above.

Response to Interrogatory No. 15:

Not applicable.
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16. State whether an employee, agent or other representative of any
governmental entity or agency, or any law enforcement official, has made written or
verbal requests to Defendant for information, books or records relating to payment of
prevailing wages and/or benefits in connection with any of the public works identified by
Defendant in response to Interrogatory No. 14. If Defendant’s answer is yes:

(e) identify each request;

(f) state the date of each request;

(g) describe the action taken by Defendant in response to each request;

(h) identify each of Defendant’s employees, agents and other representatives
who participated in any discussions, decision-making or efforts regarding Defendants’s

response to each request; and

(i) identify all documents concerning the information requested in this
interrogatory.

Response to Interrogatory No. 16:

Defendants object to this interrogatory as being vague, overbroad, irrelevant,
unduly burdensome and privileged. Notwithstanding, see response to interrogatory
#14.

17. For each of the public works identified by Defendant in response to
Interrogatory No. 12 identify each employee, agent or other representative of a
government agency who inspected, or otherwise visited, the site of the work.
Response to Interrogatory No. 17:

Not applicable.

18. Identify each of defendants employees, agents and other representatives
who bore responsibility for preparing and/or submitting the bid documents for each
Public Works contracts identified in response to Interrogatory No. 12 above.
Response to Interrogatory No. 18:

Not applicable

19. Identify each of defendants employees, agents and other representatives

who bore responsibility for preparing and/or submitting payment requisitions for each of
the Public Works projects identified in response to Interrogatory No. 12.
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Response to Interrogatory No. 19:

Not applicable.

20. Identify each of defendants employees, agents and other representatives
who were responsible for the on site management of the work performed at the site of

each of the Public Works Projects.
Response to Interrogatory No. 20:

Not applicable.

21. State whether an employee, agent or other representative of the U.S.
Department of Labor or the New York State Department of Labor has made written or

verbal requests to Defendants for information, books or records relating to the payment
of overtime wages from December 2006 through present. If Defendant’s answer is yes:

(j) identify each request;

(k) state the date of each request;

(I) describe the action taken by Defendant in response to each request; and

(m) identify each of Defendant's employees, agents and other representatives
who participated in any discussions, decision-making or efforts regarding Defendant's

response to each request; and

(n) identify all documents concerning the information requested in this
interrogatory.

Response to Interrogatory No. 21:

Defendants object to this interrogatory as being vague, overbroad, irrelevant,
unduly burdensome and privileged.

22. Identify all persons or entities that have possession, custody, or control of
documents relevant to this suit and the documents over which they possession,
custody, or control.

Response to Interrogatory No. 22:

Elm General Construction Corp.

23. For any statements that have been taken by or from you relating to the
facts that are the subject of this litigation, please state the following:
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(a) The identity of the person who gave or made the statement.
(b) |The substance of the statement.

(c) |The date when the statement was taken.

(d) ‘The identity of the person who took the statement

(e) | Whether the statement was reduced to writing.

(f) The present location of the statement and the identity of the person now
in possession of the statement.

Response to Interrogatory No. 23:

Not applicable.

24. Identify all experts whom Defendant and/or its agents have contacted
and/or retained for the purposes of this litigation, and specify each experts area of
expertise. Identify all written reports rendered by each expert whom Defendant and/or
its agents have contacted and/or retained. If any expert whom Defendant and/or its
agents, state the contents of each oral report in full detail. State whether defendant
intends to call any expert as a witness during the trial of the matter and if so, provide a
detailed description of said experts anticipated testimony.

Response to Interrogatory No. 24:

Defendant(s) have not presently retained and/or designated any experts for the
purpose of this litigation. This interrogatory as well as all others, is subject to
supplementation and amendment before trial.

25. Identify any and all documents consulted, examined or referred to in
preparation of the answers to these interrogatories.

Response to Interrogatory No. 25:
Employee records
Payroll check register

Time cards
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Great Neck, New York
August 16, 2013

Dated:

TO:

FRANK & ASSOCIATES, P.C.
Attorney for Plaintiff(s)

Office & P.O. Box

500 Bi-County Blvd.

Suite #112N

Farmingdale, New York 11735
(631) 756-0400

Att: Andrea E. Batres, Esq.

HANKIN & MAZEL, P.L.L.C.
Attorneys for Defendants
KELCO LANDSCAPING, INC.

ELM heey STRUCTION CORP.
acta

JOS OY enc

BY:

 

Mark = Hankin, Esq.
Office & P.O. Address
60 Cutter Mill Road, Suite# 505
Great Neck, New York 11024
(516) 499-5800
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VERIFICATION-INTERROGATORIES

STATE OF NEW YORK)
COUNTY OF SUFFOLK) ss

TERRI PROVENZANO, being duly sworn deposes and says:

That | am an employee of the defendant(s) KELCO LANDSCAPING, INC. and

ELM GENERAL CONTRAGTING CORP. |
That | have read the foregoing RESPONSES TO PLAINTIFF'S FIRST SET OF

INTERROGATORIES; know the contents thereof: and same are true to my knowledge
based upon the books and records of the defendants above except those responses

made upon information and belief and as to those responses | believe them to be true.

~

NAZILA ILANA YEROUSHALMI
NOTARY PUGLIC-STATE OF NEW YORK

No. O1YE6238171 dum Font eats

Qualified In Nassau County
TERRI PROVENZANO

My Commission Explies April 04, 2018

SWORN TO THIS |Gthoay oF
AUGUST, 2013

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AFFIRMATION OF SERVICE

United States District Court)
Eastern District of New York)

MARK L. HANKIN, an attorney duly admitted to practice in the Courts of the
State

of New York, affirms the following under the penalties of perjury:

[am a member of the Lawfirm of Hankin & Mazel, P.L.L.C., attorneys for the
defendant(s), Kelco Landscaping, Inc., Elm General Construction Corp., John Kelly and

Joseph Provenzano herein.

On August 19,2013, | served a true copy of Defendant(s) Response and
Objections to Plaintiff(s) First Set of Interrogatories by mailing same in a postage
paid, properly addressed envelope in an official depository under the exclusive care and
custody of the United States Post Office in the State of New York, addressed.to
Plaintiff(s) Attorney(s), as follows:

FRANK & ASSOCIATES, P.C.
500 Bi-County Blvd.

Suite #112N

Farmingdale, New York 11735

Att: Andrea E. Batres, Esq.

C7
Mark L. Hankin, Esq.
